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SCANNED

Jamil Malik Bey
in propria persona, and in the capacity of Trustee

FILED

on Behalf of the Immortal Jamil Malik Bey Reversioner JUN 02 2021

Trust in Northwest Amexem

In care of: [391 Ellis Street

Via San Francisco, California Republic]
Zip Exempt, Without the United States
Nwabey360@protonmail.ch

Marimar Cornejo

c/o 391 Ellis Street

San Francisco, California 94102
Marimarcornejo95@gmail.com
415-767-6676

in propria persona

SUSAN Y. SOONG
CLERK, U.S. DISTRICT COURT
NORTH DISTRICT OF CALIFORNIA

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

San Francisco

MARIMAR CORNEJO, an individual:
Jamil Malik Bey, in propria persona and as
Trustee for the Immortal Jamil Malik Bey
Reversioner Trust in Northwest Amexem

Plaintiffs,
VS.

JEFFREY TUMLIN, officially as Director of
Transportation of the San Francisco Municipal
Transportation agency; the SAN FRANCISCO
MUNICIPAL TRANSPORTATION AGENCY;
CITY & COUNTY OF SAN FRANCISCO;
DAN SCANLAN individually; TEGSCO LLC
d/b/a SAN FRANCISCO AUTORETURN,; SAN
FRANCISCO AUTORETURN LLC; PACIFIC
GAS AND ELECTRIC COMPANY;
CAMERON A. HALE Individually and in his
capacity as CEO of ALVAH CONTRACTORS
INC.; ALVAH CONTRACTORS INC-.;
NELSONS TOW,

Defendants.

 

 

CASE NO. 20-CV-05813-CRB

Jamil Malik Bey’s Affidavit of Facts

Affidavit of facts for the purpose of Case management
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Done by light of Day June 2, 2021
I, the undersigned natural person, on the high principles of love, truth, peace, freedom, and
justice, do declare the following facts to be true to the best of my knowledge, and within my
personal knowledge, and not done to mislead or hinder the effective administration of justice, to
wit:

Peace and Greetings, the purpose of this affidavit of facts is to update the Record for the
effective administration of justice. I the undersigned party of interest, therefore, give notice to all
other parties of interest that due to specific circumstances outside of our control, which arose
during the pendency of this instant action, and other unlawful crimes being perpetrated against us
which have been ongoing, Plaintiff Marimar Cornejo and myself were unable to respond to the
order of the court done on February 12, 2021.

Weare grateful for the courts appearance of impartiality and were intending to speedily
prosecute this action, however an emergency occurred, and has been ongoing during the course
of a year, which a substantial role in the creation of this emergency was the result of conduct
carried out by employees/agents of Defendant CITY AND COUNTY OF SAN FRANCISCO, by
and through its employees, agencies, or contractors, and as direct result thereof, we were
unlawfully threatened by the aforementioned persons, wrongfully persecuted in bad faith based
on personal prejudice, and were deprived of our home and access to our property along with our
at the time, 10-month-old son, when we were in good standing, and were faithfully performing
any obligations owing by us, or were excused from doing so, at the time of the unlawful acts, and
we were involuntarily compelled to spend approximately $250 per day for several weeks on
temporary housing and other cost which has made it impossible for us to respond over the
several months as a result of 1 year of harassing vexatious litigation against us by Abigale
Bhoopsingh, and her Attorney, who were maliciously retaliating against us for raising
habitability issues and for requesting a copy of a ‘master lease agreement’ which we are entitled
to.

We have been depleted of our savings and were compelled to sign a lease for the term of
| year, costing us $26,340 over the duration of the term. In addition, we have been intentionally
deprived of a court of law or equity and a Trial by jury at the Superior Court of California.
Employees/agents of CCSF have assisted Abigale and her attorney perpetrate acts of cruelty, and
bad faith attacks against our honour, reputation, home, and family, and have ignored all of our
verbal and written communications asking for investigations into this perjury among other
things, showing disregard for our fundamental human rights which are recognized in the
Constitution for the United States of America.

We intend to return to the prosecution of this action shortly although we are left with a
new burden to repair our name and credit from the irreparable harm done by the aforementioned
persons. Defendants therefore cannot complain about any delay which occurred as a result of
their acts or omissions as stated above, and we must be entitled to relief from any deadlines.

Made under penalty of perjury under the laws of the de jure united States of America.

In honor,

 

lam:

op Malik Bey: Affiant / Cfeditor / Trustee

 

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R Boi of the Immortal Jamil Malik Bey

707) Raversionsr Tus in Northwest Amexem.

 

SUSAR ¥
CLERK. 11S

 

 

A notary public or other officer completing this
certificate verifies only the identity of the individual
who signed the document to which this certificate
's attached, and not the truthfulness accuracy, or
validity of that document.

 

 

STATE OF CALIFORNIA COUNTY OF Santovom eis €&

Subscribed and sworn fo (or affirmed i
Zrdayof Suva 202 by Nae em Fe an his “CoML # 2240808"

proved to me on the basis of Salisfacto: vid i COMM. # 2240803
who appeared before ma, ae — Ea Nun F ANS 3 Coun :
/ am at AN FRANCISCO COUNTY ==
. : OQWAS rr M =
(Span altos A ¥ Comm. Exe. May 30, 2022

 

  

 
